                             Case 6:24-bk-03843-LVV                         Doc 29          Filed 09/11/24              Page 1 of 3
                                                                United States Bankruptcy Court
                                                                  Middle District of Florida
In re:                                                                                                                   Case No. 24-03843-LVV
Chaim Levilev                                                                                                            Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 113A-6                                                    User: admin                                                                 Page 1 of 1
Date Rcvd: Sep 09, 2024                                                 Form ID: Dntcdfpp                                                          Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.

#                  Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                   the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 11, 2024:
Recip ID                  Recipient Name and Address
db                     #+ Chaim Levilev, 2 Fernmeadow Lane, Ormond Beach, FL 32174-5998

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 11, 2024                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 9, 2024 at the address(es) listed
below:
Name                                Email Address
Gene T Chambers
                                    gtchambers@cfl.rr.com gtc@trustesolutions.com;gtc@trustesolutions.net

Jason B. Burnett
                                    on behalf of Creditor Cortney Marie Hobgood jason.burnett@gray-robinson.com
                                    ken.jacobs@gray-robinson.com;kim.miller@gray-robinson.com

United States Trustee - ORL7/13
                                    USTP.Region21.OR.ECF@usdoj.gov


TOTAL: 3
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[Dntcdfpp] [District Notice of Deficient Filing Post Petition]



                                                    UNITED STATES BANKRUPTCY COURT
                                                       MIDDLE DISTRICT OF FLORIDA
                                                            ORLANDO DIVISION
                                                            www.flmb.uscourts.gov



In re:                                                                       Case No. 6:24−bk−03843−LVV
                                                                             Chapter 7

Chaim Levilev




________Debtor*________/



                                                     NOTICE OF DEFICIENT FILING
                                                AND OPPORTUNITY TO CURE DEFICIENCIES
    On July 25, 2024, Debtor filed a Voluntary Petition under Chapter 7 of the Bankruptcy Code. The clerk has noted
deficiencies to the petition, schedules, and/or other filed papers of this Debtor. The Debtor is provided an opportunity
to cure the deficiencies within the time set forth herein. All deadlines run from the date of this notice unless otherwise
noted. This case may be dismissed without further notice or hearing if the Debtor fails to timely correct the noted
deficiency.

   Debtors who are not represented by an attorney must cure deficiencies by filing the required papers with the Clerk
of Court. Papers in Orlando Division cases must be filed in person, by U.S. Mail, or by other delivery at the following
address:
Clerk, U.S. Bankruptcy Court
George C. Young Federal Courthouse
400 West Washington Street
Suite 5100
Orlando, FL 32801
(The Clerk's Office is open from 8:30 a.m. to 4:00 p.m.)

Note: Bankruptcy petitions and other papers delivered to the Clerk's Office by U.S. Mail or other delivery service
(such as Federal Express and UPS) are date−stamped and filed on the date the Clerk's Office receives them − not the
date they are placed in the mail, postmarked, or given to another delivery service.

A link to updated forms is available on the Court's website at: http://www.flmb.uscourts.gov/forms/.

           The Debtor's Schedules and/or the Debtor's Summary of Assets were filed without a properly signed
           declaration. Within 14 days from the date of this notice, the Debtor shall file a signed Declaration
           About an Individual Debtor's Schedules (Form B106 Declaration) or Declaration Under Penalty of
           Perjury for Non−Individual Debtors (Form B202) containing an original signature or proper
           electronic signature in compliance with Fed. R. Bankr. P. 9011(a) and/or Local Rule 9011−4.

           A Summary of Assets was not filed. The Debtor is directed to file a fully completed Summary of
           Assets and Liabilities, Form B106Sum for individuals, accompanied by a Declaration of Schedules
           Form B106Dec, or Form B206Sum for non−individuals, accompanied by a Declaration Under
           Penalty of Perjury Form B202, within 14 days of the date of this notice.
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                                        FOR THE COURT
 Dated: September 9, 2024               Sheryl L. Loesch , Clerk of Court
                                        George C. Young Federal Courthouse
                                        400 West Washington Street
                                        Suite 5100
                                        Orlando, FL 32801


The Clerk's office is directed to serve a copy of this notice on interested parties.

*All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
individuals.
